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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION

 AMY JACKSON-BOLINGER, PAMELA                         )
 JOHNSON, AND MELISSA NORTH                           )
 on behalf of themselves and all others               )
 similarly situated,                                  )
                                                      )
                Plaintiffs,                           ) Civil Action No. 6:19-CV-152-REW
                                                      )
 v.                                                   )
                                                      )
 AMERICORE HEALTH, LLC, et al.,                       )
                                                      )
                Defendants.                           )

                                      NOTICE OF FILING

        Plaintiffs Amy Jackson-Bolinger, Pamela Johnson and Melissa North on behalf of

 themselves and all others similarly situated, have filed a motion requesting modification and

 relief from the automatic stay pursuant to 11 U.S.C. §362(D) as to the non-Americore

 Defendants. A copy of the filing is attached for the convenience of the parties and the Court.

                                                      Respectfully Submitted,

                                                      /s/ Ronald E. Johnson, Jr.
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                                  CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing was filed on this 18th day of February, 2020,
 through the Court’s ECF system, which will send an electronic notice to all counsel of record.

                                              Ronald E. Johnson, Jr.
                                              Ronald E. Johnson Jr.
